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UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK
--------------------------------------------------------X

SCOTT SHAPIRO, COREY AMUNDSON,
AND TANYA MARSHALL, on behalf of
themselves and all others similarly situated,

                                   Plaintiffs
                    -v-                                             Case No.

PEACOCK TV LLC,

                                    Defendant.
---------------------------------------------------------X



              CLASS ACTION COMPLAINT AND DEMAND FOR JURY TRIAL

        Plaintiffs Scott Shapiro, Corey Amundson, and Tanya Marshall (collectively, “Plaintiffs”),

by and through their attorneys, for their Class Action Complaint against Defendant Peacock TV

LLC, allege and state as follows:

                                             INTRODUCTION

        1.       Plaintiffs, on behalf of themselves and all others similarly situated, bring this class

action in relation to Defendant’s knowing disclosure of Plaintiffs’ personally identifiable

information (“PII”) to a third-party without Plaintiffs’ consent.

        2.       Plaintiffs are subscribers of Defendant’s website, peacocktv.com (the “Website”),

which offers, among other things, a wide array of pre-recorded audio visual materials and services.

        3.       When Plaintiffs requested or obtained specific video materials or services on

Defendant’s Website, Defendant knowingly disclosed Plaintiffs’ PII to Facebook (aka Meta)

without notifying Plaintiffs and without their consent.

        4.       Defendant violated the Video Privacy Protection Act, 18 U.S.C. § 2710 (the

“VPPA”) each time it knowingly disclosed Plaintiffs’ PII to Facebook without consent.

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       5.       Defendant is liable to Plaintiffs and the Class for statutory damages in an amount

not less than $2,500 for each disclosure of PII, punitive damages, attorneys’ fees and costs.

                                             PARTIES

       6.       Plaintiff Scott Shapiro is an individual that is over 18 years old and a citizen of the

State of New York. Plaintiff Shapiro resides in Westchester County, New York. Plaintiff Shapiro

is a subscriber of Defendant’s Website and requested or obtained specific video materials or

services from the Website.

       7.       Plaintiff Corey Amundson is an individual that is over 18 years old and a citizen of

the State of New York. Plaintiff Amundson resides in Westchester County, New York. Plaintiff

Amundson is a subscriber of Defendant’s Website and requested or obtained specific video

materials or services from the Website.

       8.       Plaintiff Tanya Marshall is an individual that is over 18 years old and a citizen of

the State of California. Plaintiff Marshall resides in Los Angeles County, California. Plaintiff

Marshall is a subscriber of Defendant’s Website and requested or obtained specific video materials

or services from the Website.

       9.       Defendant Peacock TV LLC is a Delaware corporation with its principal place of

business at 30 Rockefeller Plaza, New York, New York 10112. Defendant developed, maintains,

owns, and/or operates the Website.

                                 JURISDICTION AND VENUE

       10.      This Court has jurisdiction pursuant to the Class Action Fairness Act (“CAFA”),

28 U.S.C. § 1332(d). CAFA jurisdiction is appropriate because there is diversity in citizenship

between the parties, there are 100 or more Class Members, and the aggregate amount in

controversy exceeds five million dollars ($5,000,000.00), exclusive of interest and costs.



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           11.     This Court also has jurisdiction pursuant to 28 U.S.C. § 1331 because the action

arises under a law of the United States, namely the VPPA.

           12.     Venue is proper in this Court pursuant to 28 U.S.C. § 1391(b) because Defendant

is a resident of New York, its principal place of business is New York, and much of the violative

conduct complained of herein originated or occurred in this District.

           13.     Further, Defendant’s Terms of Use specify jurisdiction and venue as the federal and

state courts of New York. 1

                                        GENERAL ALLEGATIONS

                      Defendant’s Website and Facebook Pixel (aka Meta Pixel)

           14.     Defendant is engaged in the business of the rental, sale, or delivery of prerecorded

audio visual materials.

           15.     Defendant is a video streaming service that developed, owns, and/or operates the

Website, peacocktv.com, which receives millions of visits per year.

           16.     The Website provides a wide array of prerecorded audio visual video materials

and/or services.

           17.     Defendant has over 20 million subscribers who, among other things, request or

obtain specific prerecorded audio visual video materials or services from the Website.

           18.     To become a subscriber of the Website, peacocktv.com, individuals create an

account by providing other PII, such as their name, address, phone number, and email address, and

pay a fee.

           19.     To create a Facebook account, individuals must use “the name that they go by in




1
    https://www.peacocktv.com/terms, updated June 6, 2023 (accessed 7/18/23).

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everyday life”, 2 such that a person can be personally identified by their Facebook account.

          20.    When someone creates a Facebook account, a corresponding unique Facebook ID

(“FID”) is also created.

          21.    FIDs are uniquely associated with particular Facebook accounts, such that an FID

can be used to identify and view the associated Facebook profile. Accordingly, FIDs are PII.

          22.    Defendant monetizes its Website by, among other things, knowingly collecting and

knowingly disclosing its subscribers’ PII to Facebook, including data that personally identifies

subscribers and the specific prerecorded audio visual video materials or services they request or

obtain.

          23.    Defendant’s Website uses a computer code analytics tool called “Facebook Pixel”

(aka “Meta Pixel”), which was installed and implemented at the discretion of Defendant.

          24.    Facebook Pixel tracks the actions of Website visitors, including subscribers, such

as the specific prerecorded audio visual video materials or services they request or obtain.

          25.    When someone requests or obtains specific video materials or services on

Defendant’s Website, the specific video material or service and the viewer’s FID are

simultaneously disclosed to Facebook via Facebook Pixel.

          26.    Defendant installed and implemented the Facebook Pixel on the Website knowing

it discloses PII to Facebook.




2
  https://transparency.fb.com/en-gb/policies/community-standards/account-integrity-and-authentic-identity/
(accessed July 18, 2023).

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       27.    For example, when someone visits Defendant’s Website and clicks on the show,

“Longmire,” the following computer network traffic is occurring (Figure 1):




       28.    As shown in Figure 1, the video name “Longmire” (orange box) and subscriber’s

FID which is represented by the “c_user” cookie (black box) are disclosed to Facebook.

       29.    The “PageView” component of Facebook Pixel discloses to Facebook the URL that

a   viewer    has    accessed    (orange    box)    (e.g.   “https://www.peacocktv.com/watch-

online/tv/longmire/8515700119835713112”).

       30.    With the PageView data, someone can simply enter that URL into a browser and

they will know what specific video material a person requested or obtained.

       31.    The “c_user” cookie that is transmitted by the Facebook Pixel contains a viewer’s

unencrypted FID.


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       32.     A Facebook profile can be easily identified and viewed by appending an FID to the

end of “facebook.com,” such that a person can be identified by their FID.

       33.     For example, Facebook’s founder, Mark Zuckerberg, has an FID of 4. Entering

www.facebook.com/4 into a website browser takes one to Mr. Zuckerberg’s Facebook page,

www.facebook.com/zuck.

       34.     When PageView data and an FID are simultaneously disclosed, the specific video

materials or services that the specific individual requested or obtained can be determined.

       35.     Defendant knew that PageView data and FIDs are simultaneously disclosed by

Facebook Pixel.

       36.     Defendant also knew that such data in combination identifies subscribers and the

specific video materials or services they request or obtain.

       37.     Defendant did not obtain the consent of Website subscribers to disclose their PII or

the specific video materials or services they request or obtain.

       38.     Subscribers to Defendant’s Website are not given an opportunity to withdraw from

or prohibit the disclosure of their PII or the prerecorded audio visual video materials or services

they request or obtain.

       39.     The disclosure of subscribers’ PII and/or the prerecorded audio visual video

materials or services they request or obtain is not incident to the ordinary course of business of

Defendant (i.e. it is not for debt collection, order fulfillment, request processing, or the transfer of

ownership).

       40.     The surreptitious disclosure of PII paired with the specific video materials or

services that a person requests or obtains is an outrageous invasion of privacy and would be

offensive to a reasonable person.



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                                     The Video Privacy Protection Act

         41.      In recognition of the outrageous nature of such privacy invasions, Congress passed

the VPPA so that individuals can “maintain control over personal information divulged and

generated in exchange for receiving services from video tape service providers.” S. Rep. No. 100-

599, pg. 8.

         42.      The VPPA provides that a “video tape service provider who knowingly discloses,

to any person, personally identifiable information concerning any consumer of such provider shall

be liable to the aggrieved person for the relief provided in subsection [(c)].” 18 U.S.C. §

2710(b)(1). 3

         43.      Under the VPPA, “the term ‘video tape service provider’ means any person,

engaged in the business, in or affecting interstate or foreign commerce, of rental, sale, or delivery

of prerecorded video cassette tapes or similar audio visual materials…” 18 U.S.C. § 2710(a)(4).

         44.      An entity like Defendant that provides prerecorded audio visual materials or

services via streaming is a video tape service provider under the VPPA.

         45.      Under the VPPA, “the term ‘consumer’ means any renter, purchaser, or subscriber

of goods or services from a video tape service provider.” 18 U.S.C. § 2710(a)(1).

         46.      Under the VPPA, “the term ‘personally identifiable information’ includes

information which identifies a person as having requested or obtained specific video materials or

services from a video tape service provider.” 18 U.S.C. § 2710(a)(3).

         47.      Where a video tape service provider knowingly discloses the PII of a consumer

without consent, the aggrieved person may bring a civil action for, among other things, statutory


3
 The statute contains a scrivener’s error. The quoted statute states “relief provided in subsection (d),” however courts
understand this reference to “subsection (d)” to mean “subsection (c).” See Feldman v. Star Trib. Media Co. LLC, No.
22-CV-1731 (ECT/TNL), 2023 WL 2388381, at *n.1 (D. Minn. Mar. 7, 2023).


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damages in an amount not less than $2,500, punitive damages, and attorneys’ fees and costs. 18

U.S.C. § 2710(c)(2)(A)-(D).

                              Tolling of the Statute of Limitations

       48.     All applicable statute(s) of limitations have been tolled by Defendant’s knowing

and active concealment and denial of the facts alleged herein. Plaintiffs and Class members could

not have reasonably discovered Defendant’s practices of disclosing their PII with Facebook until

shortly before this class action litigation commenced.

       49.     Defendant was and remains under a continuing duty to disclose to Plaintiffs and

Class members its practice of sharing PII to Facebook. As a result of the active concealment by

Defendant, any and all applicable statutes of limitations otherwise applicable to the allegations

herein have been tolled.

                 PLAINTIFFS/PROPOSED CLASS REPRESENTATIVES

                                          Scott Shapiro

       50.     Plaintiff Scott Shapiro first subscribed to Defendant’s Website, peacocktv.com, on

or about July 2020.

       51.     To become a subscriber of Defendant’s Website, Plaintiff Shapiro provided

Peacock with his name, email address and paid a fee.

       52.     Among other means, Plaintiff Shapiro uses web browsers to access the Website.

       53.     Plaintiff Shapiro sometimes watches videos on the Website while he is not logged

into the Website. Plaintiff Shapiro also looks at and browses lists of available videos, clicks on

specific video or episode titles, and watches video trailers on the Website while he is not logged

into the Website. Often, this is because Defendant and the Website forces him to periodically re-

enter his login information between visits to the Website.



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       54.       Since becoming a subscriber of the Website, Plaintiff Shapiro has regularly

requested or obtained specific video materials or services from the Website both while logged into

and not logged into the Website and using the same device and/or browser in which he is logged

into his Facebook account.

       55.       Plaintiff Shapiro never specifically consented to Defendant disclosing the video

materials or services that he requests or obtains to others, and he was unaware that Defendant was

sharing that information with Facebook/Meta.

       56.       Plaintiff Shapiro has a Facebook account, which he is perpetually logged into on

his computer and smartphone.

       57.       Plaintiff Shapiro’s Facebook profile is associated with his real (legal) name and his

email address.

       58.       Plaintiff Shapiro’s Facebook profile and his email address contain his name,

whereby Plaintiff Shapiro can be personally identified by that information.

       59.       Each time Plaintiff Shapiro requested or obtained specific video materials or

services from the Website, Defendant simultaneously disclosed Plaintiff Shapiro’s FID and the

specific video materials or services he requested or obtained from Defendant to Facebook via

Facebook Pixel.

       60.       This paired information personally identifies Plaintiff Shapiro and the video

material that he requested, obtained, accessed, and/or watched on Defendant’s Website.

       61.       Plaintiff Shapiro did not consent to the disclosure of his PII, in writing or otherwise,

and Defendant did not attempt to obtain Plaintiff Shapiro’s consent in a form separate and distinct

from other legal or financial obligations.




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        62.     Defendant did not provide Plaintiff Shapiro with an opportunity to withdraw from

the disclosure of his PII.

        63.     Defendant’s disclosure of Plaintiff Shapiro’s PII was not related to an ordinary

course of business (e.g. debt collection, order fulfillment, request processing, or any transfer of

ownership).

                                        Corey Amundson

        64.     Plaintiff Corey Amundson first subscribed to Defendant’s Website, peacocktv.com,

in approximately July 2020.

        65.     To become a subscriber of Defendant’s Website, Plaintiff Amundson provided

Peacock with his name, email address and paid a fee.

        66.     Among other means, Plaintiff Amundson uses web browsers to access the Website.

        67.     Plaintiff Amundson sometimes watches videos on the Website while he is not

logged into the Website. Plaintiff Amundson also looks at and browses lists of available videos,

clicks on specific video or episode titles, and watches video trailers on the Website while he is not

logged into the Website. Often, this is because Defendant and the Website forces him to

periodically re-enter his login information between visits to the Website.

        68.     Since becoming a subscriber of the Website, Plaintiff Amundson has regularly

requested or obtained specific video materials or services from the Website both while logged into

and not logged into the Website and using the same device and/or browser in which he is logged

into his Facebook account.

        69.     Plaintiff Amundson never specifically consented to Defendant disclosing the video

materials or services that he requests or obtains to others, and he was unaware that Defendant was

sharing that information with Facebook/Meta.



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       70.     Plaintiff Amundson has a Facebook account, which he is perpetually logged into

on his computer and smartphone.

       71.     Plaintiff Amundson’s Facebook profile is associated with his real (legal) name and

his email address.

       72.     Plaintiff Amundson’s Facebook profile and his email address contain his name,

whereby Plaintiff Amundson can be personally identified by that information.

       73.     Each time Plaintiff Amundson requested or obtained specific video materials or

services from the Website, Defendant simultaneously disclosed Plaintiff Amundson’s FID and the

specific video materials or services he requested or obtained from Defendant to Facebook via

Facebook Pixel.

       74.     This paired information personally identifies Plaintiff Amundson and the video

material that he requested, obtained, accessed, and/or watched on Defendant’s Website.

       75.     Plaintiff Amundson did not consent to the disclosure of his PII, in writing or

otherwise, and Defendant did not attempt to obtain Plaintiff Amundson’s consent in a form

separate and distinct from other legal or financial obligations.

       76.     Defendant did not provide Plaintiff Amundson with an opportunity to withdraw

from the disclosure of his PII.

       77.     Defendant’s disclosure of Plaintiff Amundson’s PII was not related to an ordinary

course of business (e.g. debt collection, order fulfillment, request processing, or any transfer of

ownership).

                                         Tanya Marshall

       78.     Plaintiff Tanya Marshall first subscribed to Defendant’s Website, peacocktv.com,

in approximately April 2020.



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       79.     To become a subscriber of Defendant’s Website, Plaintiff Marshall provided

Peacock with her name, email address and paid a fee.

       80.     Among other means, Plaintiff Marshall uses web browsers to access the Website.

       81.     Plaintiff Marshall sometimes watches videos on the Website while she is not logged

into the Website. Plaintiff Marshall also looks at and browses lists of available videos, clicks on

specific video or episode titles, and watches video trailers on the Website while she is not logged

into the Website. Often, this is because Defendant and the Website forces her to periodically re-

enter her login information between visits to the Website.

       82.     Since becoming a subscriber of the Website, Plaintiff Marshall has regularly

requested or obtained specific video materials or services from the Website both while logged into

and not logged into the Website and using the same device and/or browser in which she is logged

into her Facebook account.

       83.     Plaintiff Marshall never specifically consented to Defendant disclosing the video

materials or services that she requests or obtains to others, and she was unaware that Defendant

was sharing that information with Facebook/Meta.

       84.     Plaintiff Marshall has a Facebook account, which she is perpetually logged into on

her computer and smartphone.

       85.     Plaintiff Marshall’s Facebook profile is associated with her real (legal) name and

her email address.

       86.     Plaintiff Marshall’s Facebook profile and her email address contain her name,

whereby Plaintiff Marshall can be personally identified by that information.

       87.     Each time Plaintiff Marshall requested or obtained specific video materials or

services from the Website, Defendant simultaneously disclosed Plaintiff Marshall’s FID and the



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specific video materials or services she requested or obtained from Defendant to Facebook via

Facebook Pixel.

       88.     This paired information personally identifies Plaintiff Marshall and the video

material that she requested, obtained, accessed, and/or watched on Defendant’s Website.

       89.     Plaintiff Marshall did not consent to the disclosure of her PII, in writing or

otherwise, and Defendant did not attempt to obtain Plaintiff Marshall’s consent in a form separate

and distinct from other legal or financial obligations.

       90.     Defendant did not provide Plaintiff Marshall with an opportunity to withdraw from

the disclosure of her PII.

       91.     Defendant’s disclosure of Plaintiff Marshall’s PII was not related to an ordinary

course of business (e.g. debt collection, order fulfillment, request processing, or any transfer of

ownership).

                                    CLASS ALLEGATIONS

A.     Definition of the Class

       92.     Plaintiffs bring this action individually and on behalf of all persons that the Court

may determine appropriate for class certification, pursuant to Fed. R. Civ. P. 23 (the “Class” or

“Class Members”). Plaintiffs seek to represent a Class of persons preliminarily defined as:

               All persons in the United States who (1) have a Facebook
               account, (2) subscribed to peacocktv.com, and (3) requested or
               obtained specific video materials or services from
               peacocktv.com.

This definition is subject to modification as discovery discloses further information. Plaintiffs

reserve the right to propose one or more sub-classes if discovery reveals that such subclasses are

appropriate.




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       93.     Excluded from the Class are Defendant, their past or current officers, directors,

affiliates, legal representatives, predecessors, successors, assigns and any entity in which any of

them have a controlling interest, as well as all judicial officers assigned to this case as defined in

28 USC § 455(b) and their immediate families.

       94.     This case is properly maintainable as a class action pursuant to and in accordance

with Fed. R. Civ. P. 23 in that:

       a) The Class, which includes thousands of members, is so numerous that joinder of all

       Class Members is impracticable;

       b) There are substantial questions of law and fact common to the Class, including those set

       forth in greater particularity herein;

       c) Questions of law and fact, such as those enumerated below, which are common to the

       Class, predominate over any questions of law or fact affecting only individual members of

       the Class;

       d) The claims of the representative party are typical of the claims of the Class;

       e) A class action is superior to any other type of action for the fair and efficient adjudication

       of the controversy;

       f) The relief sought in this class action will effectively and efficiently provide relief to all

       members of the Class;

       g) The prosecution of separate lawsuits by Class Members would risk inconsistent or

       varying adjudications. Class-wide adjudication of these claims is, therefore, appropriate.

       h) There are no unusual difficulties foreseen in the management of this class action; and

       i) Plaintiffs, whose claims are typical of those of the Class, through their experienced

       counsel, will zealously and adequately represent the Class.



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B.     Numerosity

       95.     There are millions of individuals who are subscribers of Defendant and have

requested or obtained specific video materials or services from Defendant’s Website. Accordingly,

the Class Members are so numerous that joinder of all parties is clearly impracticable.

C.     Commonality

       96.     Numerous common questions of law and fact predominate over any questions

affecting individual Class Members including, but not limited to, the following:

       a) Whether Defendant collected PII of Class Members who visited its Website;

       b) Whether Defendant disclosed PII of Class Members who requested or obtained specific

       video materials or services from its Website;

       c) Whether Defendant’s disclosure was made knowingly;

       d) The nature and extent of PII disclosed;

       e) How PII was disclosed and to whom;

       f) Whether Defendant’s Website obtains informed written consent in a form distinct and

       separate from any form setting forth other legal or financial obligations before disclosing

       PII of subscribers;

       g) Whether Defendant’s Website provides a clear and conspicuous opportunity for

       subscribers to withdraw from disclosures on a case-by-case basis; and

       h) Whether the disclosures of Class Members PII warrants punitive damages.

D.     Typicality

       97.     Plaintiffs have the same interests in this matter as all other members of the Class

and their claims are typical of the claims of all members of the Class. If brought and prosecuted

individually, the claims of each Class Member would require proof of substantially the same



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material and substantive facts, utilize the same complex evidence (e.g. expert testimony), rely upon

the same legal theories, and seek the same type of relief.

       98.     The claims of the Plaintiffs and other Class Members have a common cause and

their damages are of the same type. The claims originate from the disclosure of PII by Defendant

without consent.

       99.     All Class Members have been aggrieved by Defendant’s disclosure of their PII

without consent and are entitled to, inter alia, statutory damages.

E.     Adequacy of Representation

       100.    Plaintiffs’ claims are sufficiently aligned with the interests of the absent Class

Members to ensure that the Class’ claims will be prosecuted with diligence and care by Plaintiffs

as representatives of the Class. Plaintiffs will fairly and adequately represent the interests of the

Class and he does not have interests adverse to the Class.

       101.    Plaintiffs have retained the services of counsel who are experienced in complex

class action litigation. Plaintiffs’ counsel will vigorously prosecute this action and will otherwise

protect and fairly and adequately represent the Plaintiffs and all absent Class Members.

F.     Class Treatment is the Superior Method of Adjudication

       102.    A class action is superior to other methods for the fair and efficient adjudication of

the controversies raised in this Complaint because:

       a) Individual claims by the Class Members would be impracticable as the costs of pursuit

       would far exceed what any one Class Member has at stake;

       b) Individual claims by Class Members would create a risk of inconsistent or varying

       adjudications, which would present the Defendant with incompatible standards of conduct;




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       c) Individual claims by individual Class Members would create a risk of adjudications

       which would, as a practical matter, be dispositive of the interests of other individuals who

       are not parties to the adjudications, or substantially impair or impede their ability to protect

       and pursue their interests;

       d) Little or no individual litigation has been commenced over the controversies alleged in

       this Complaint and individual Class Members are unlikely to have an interest in separately

       prosecuting and controlling individual actions;

       e) In view of the complexity of the issues and the expenses of litigation, the separate claims

       of individual Class Members are likely insufficient in amount to support the costs of filing

       and litigating separate actions;

       f) The Plaintiffs seek relief relating to the Defendant’s common actions and the equitable

       relief sought would commonly benefit the Class as a whole;

       g) The concentration of litigation of these claims in one action will achieve efficiency and

       promote judicial economy; and

       h) The proposed class action is manageable.

                                      CAUSE OF ACTION I

              VIOLATION OF THE VIDEO PRIVACY PROTECTION ACT,

                                          18 U.S.C. § 2710

       103.    Plaintiffs restate all allegations of this Complaint as if fully restated herein.

       104.    Defendant, through its Website, is engaged in the business of the rental, sale, or

delivery of prerecorded audio visual materials (e.g. videos) to the Plaintiffs and Class in multiple

states and across state borders, thus Defendant is a “video tape service provider” under the VPPA.




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       105.    The Plaintiffs and Class are “consumers” under the VPPA because they are

“subscribers” of Defendant, a video tape service provider, and have requested or obtained specific

video materials or services from Defendant’s Website.

       106.    When the Plaintiffs and Class Members requested or obtained specific video

materials or services from Defendant’s Website, Defendant knowingly disclosed their FIDs and

the specific video materials or services requested or obtained to Facebook via Facebook Pixel.

       107.    The disclosed information is PII because Facebook and anyone with access to that

information can personally identify the Plaintiffs and Class Members, as well as the specific video

materials or services that each of those respective individuals requested or obtained.

       108.    The Plaintiffs and Class did not consent to Defendant disclosing their PII.

       109.    Defendant did not provide an opportunity for the Plaintiffs and Class to withdraw

from the disclosure of their PII.

       110.    Defendant’s disclosure of the Plaintiffs’ and Class’ PII was not in the ordinary

course of business.

       111.    Defendant is liable to the Plaintiffs and Class for statutory damages of not less than

$2,500 for each disclosure of their PII, punitive damages, attorneys’ fees and costs.

                                    PRAYER FOR RELIEF

       WHEREFORE, the Plaintiffs, individually and on behalf of the proposed Class, prays for

judgment as follows:

       a. Certification of the proposed Class by order pursuant to Fed. R. Civ. P. 23;

       b. Designation of the Plaintiffs as representative of the proposed Class and designation of

           her counsel as Class counsel;

       c. Judgment in favor of the Plaintiffs and Class Members as against the Defendant;



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        d. An award to each Plaintiff and Class Member for statutory damages not less than

            $2,500 and punitive damages, including pre- and post-judgment interest;

        e. An award of injunctive relief prohibiting Defendant from disclosing the PII of its

            subscribers without consent and in accordance with the VPPA;

        f. An award of attorneys’ fees and costs, including pre- and post-judgement interest;

        g. An Order holding that Defendant’s disclosure of the Plaintiffs’ and Class’ PII without

            consent was in violation of the VPPA; and

        h. Such further relief that this Honorable Court deems just and proper.

                                    DEMAND FOR JURY TRIAL

        Pursuant to Rule 38(b) of the Federal Rules of Civil Procedure, Plaintiffs demands a trial

by jury of all issues so triable.

                                                 Respectfully submitted,
 Date: July 21, 2023
                                                 /s/ Todd S. Garber

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